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                       IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

   SAMUEL F. QUATTRY, JR.,                    )
   As Trustee of the Samuel F. Quattry, Jr.   )
   Living Trust,                              )
                                              )
          Plaintiff,                          )
                                              )
   v.                                         ) Case No.: 6:18-cv-01112-CEM-DCI
                                              )
   COVINGTON SPECIALTY                        )
   INSURANCE COMPANY,                         )
                                              )
         Defendant.                           )
   _____________________________              )

        MOTION OF DEFENDANT COVINGTON SPECIALTY INSURANCE
             COMPANY FOR PARTIAL SUMMARY JUDGMENT

           Defendant Covington Specialty Insurance Company (“Covington”),

   pursuant to Federal Rule of Civil Procedure 56(a), moves this Court for entry of

   partial summary judgment as to the complaint of plaintiff Samuel F. Quattry, Jr., as

   Trustee of the Samuel F. Quattry, Jr. Living Trust (“Quattry”). There are no genuine

   issues of material facts and Covington is entitled to a ruling in its favor that if,

   hypothetically, there is coverage under the Covington policy of insurance for the

   damage to Quattry’s building (which Covington denies), the co-insurance clause in

   the Covington policy is enforceable to reduce the amount of insurance policy

   proceeds that may be owed by Covington to Quattry. In support of its motion for

   partial summary judgment, Covington relies upon the following:
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   1.     A certified copy of the Covington policy of insurance, attached to this motion

   as Exhibit 1;

   2.     The transcript of the deposition of Andrea Rickheim and the exhibits thereto,

   attached to this motion as Exhibit 2;

   3.     Plaintiff’s expert witness disclosure, Exhibit A, p. 26 of 176, attached to this

   motion as Exhibit 3;

   4.     The affidavit of Betty S. Ojeda, attached to this motion as Exhibit 4;

   5.     Property Records of the Orange County Property Appraiser for the addresses

   of 1011, 1015, 1021 and 1023 W. Colonial Dr., Orlando, Florida, 32804, attached

   to this motion as Exhibit 5;

   6.     Covington’s Statement of Material Facts As To Which There Exists No

   Genuine Issue To Be Tried contained herein;

   7.     Covington’s Memorandum of Law in Support of Its Motion For Partial

   Summary Judgment contained herein; and

   8.     All other items of record as of the date of the Court’ ruling on this matter.

    STATEMENT OF COVINGTON SPECIALTY INSURANCE COMPANY
    OF MATERIAL FACTS AS TO WHICH THERE EXISTS NO GENUINE
                       ISSUE FOR TRIAL

          1.       At the time of the loss alleged by plaintiff Samuel F. Quattry Jr., as

   Trustee of the Samuel F. Quattry, Jr. Living Trust (“Quattry”), Covington insured

   Quattry under a renewal policy of commercial general liability and property damage




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   insurance, policy number VBA392726 00, effective May 1, 2016 through May 1,

   2017 (“the Covington policy”), subject to the policy’s terms, conditions, limitations

   and exclusions. (Certified copy of Covington policy, attached to Covington’s

   motion for partial summary judgment as Exhibit 1).

             2.     The Covington policy insured the property located at 1011to 1023 W.

   Colonial Drive, Orlando, Florida 32804 (“the building”). (Covington policy, page

   55 of 100; Commercial Property Coverage Part Declarations).

             3.     At the time of the claimed loss, the Covington policy’s coverage limit

   for property damage to the building was $500,000.00, subject to a $2,500.00

   deductible and a 90% coinsurance provision. (Covington policy, page 55 of 100;

   Commercial Property Coverage Part Declarations).

             4.     The Covington policy states as follows:

                                   IMPORTANT NOTICE

                   FLORIDA NOTICE – COINSURANCE CONTRACT

             THE RATE CHARGED IN THIS POLICY IS BASED UPON
             THE USE OF THE COINSURANCE CLAUSE ATTACHED TO
             THIS POLICY, WITH THE CONSENT OF THE INSURED.

                                        *      *      *

   (Covington policy, p. 12 of 100; GBA 909009 0407). The Covington policy further

   states:

                  BUILDING AND PERSONAL PROPERTY COVERAGE
                                    FORM



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                                *          *      *
         F. Additional Conditions

            The following conditions apply in addition to the Common Policy
            Conditions and the Commercial Property Conditions.

            1. Coinsurance

                If a Coinsurance percentage is shown in the Declarations, the
                following condition applies:

                a. We will not pay the full amount of any loss if the value of
                   Covered Property at the time of loss times the Coinsurance
                   percentage shown for it in the Declarations is greater than
                   the limit of Insurance for the property. Instead, we will
                   determine the most we will pay using the following steps:

                    (1) Multiply the value of Covered Property at the time of
                        loss by the Coinsurance percentage;

                    (2) Divide the Limit of Insurance of the property by the
                        figure determined in Step (1);

                    (3) Multiply the total amount of loss, before the
                        application of any deductible, by the figure
                        determined in Step (2); and

                    (4) Subtract the deductible from the figure determined in
                        Step (3).

                   We will pay the amount determined in Step (4) or the Limit
                   of Insurance, whichever is less. For the remainder, you will
                   either have to rely on other insurance or absorb the loss
                   yourself.

   (Covington policy, p. 69 of 100; Florida Notice, GBA 909009 0407, p. 1 of 1;

   Building and Personal Property Coverage Form, CP 00 10 10 12, p. 13 of 16).




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          5.      Quattry, in its application for insurance coverage with Covington,

   specifically requested that insurance for the building be provided pursuant to a 90%

   coinsurance arrangement. (Deposition of Andrea Rickheim, p. 48, l. 18-25; p. 49, l.

   1-2; Exhibit 2 to motion for partial summary judgment. See also, Exhibit 1 to depo.

   of Rickheim).

          6.      The property section of the application states that Quattry’s building

   will be covered in the amount of $500,000.00 subject to 90% coinsurance. (Exhibit

   1 to depo. Rickheim, page 5 of 11).

          7.      Rickheim purchased the insurance policy for the property insured by

   Covington through the LRA Insurance Agency. (Depo. Rickheim, p. 46, l. 7-14,

   l.25; p. 47, l. 1-4). (Aff’d. Ojeda, ¶ 7).

          8.      Rickheim dealt with Mr. Tomlinson [at LRA Insurance], who asked

   her questions about the property, to which she, Rickhem, provided honest

   information to the best of her knowledge. (Depo. Rickheim, p. 47, l. 5-13).

          9.      Exhibit 1 to Rickheim’s deposition is the commercial insurance

   application form (Depo. Rickheim. 48, l. 18-25; p. 49, l. 1-2), where she applied for

   insurance coverage for the properties owned by Quattry Properties, LLC and the

   Samuel F. Quattry, Jr. Living Trust. (Depo. Rickheim, p. 51, l. 15-25; p. 52, l. 1-4).

          10.     Rickheim signed the insurance application form dated April 19, 2016.

   (Depo. Rickheim, p. 49, l. 3-11, 14; p. 50. l. 7-13; 24-25; p. 51, l. 1-4).




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          11.     Rickheim reviewed the application before she signed it, including the

   entire form and all of the information in it, and she made sure all of the information

   was correct. (Depo. Rickheim, p. 49, l. 15-17; p. 50, l. 1-3, 19-23; p. 51, l. 11-14; p.

   54, l. 19-22; p. 55, l. 15-18).

          12.     Rickheim and Mr. Tomlinson discussed the amount of insurance

   coverage that she was purchasing on behalf of Quattry Properties, LLC and the

   Samuel F. Quattry, Jr. Living Trust for the 1011 to 1023 West Colonial Drive

   location, and they agreed on $500,000.00 in total coverage for the buildings that

   comprise that location. (Depo. Rickheim, p. 52, l. 18-25; p. 53, l. 4-6).

          13.     After the [Covington] policy was issued, Rickheim received the

   policy and reviewed it to make sure that the premium charged was correct and that

   the coverage and conditions of coverage provided were in line with her conversation

   with Mr. Tomlinson, and she confirmed that they were correct. (Depo. Rickheim, p.

   55, l. 22-25; 56, l. 1-24).

          14.     Quattry’s damages expert, Jennifer Yurgen with Proscope Consulting,

   provided an estimate to repair the alleged damage to the portions of the building

   fully owned by Quattry (1023 West Colonial Drive). The estimate was in the amount

   of $181,096.54 for replacement cost value (RCV). (Plaintiff’s expert witness

   disclosure, Exhibit A, p. 26 of 176; Exhibit 3 to motion for partial summary

   judgment).




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          15.    At the time of the loss, the total adjusted RCV of the building at 1011

   to 1023 W. Colonial Drive, Orlando, Florida was $791,745.15 and the total actual

   cash value (ACV) of the building was $593,808.87. (Affidavit of Betty S. Ojeda,

   para. 6, Exhibit 4 to motion for partial summary judgment).

          16.    The Orange County Property Appraiser assessed the 2016 market

   values of the 1011, 1015, 1021 and 1023 addresses (collectively the 1011 to 1023

   building, or “the building”) at $176,034.00, $173,430.00, $210,811.00 and

   $148,844.00, respectively, for a total assessed market value during the year 2016 of

   $709,119.00. (See, Property Records of the Orange County Property Assessor,

   attached as Exhibit 5 to Covington’s motion for partial summary judgment).

          17.    The Covington policy’s building coverage limit for the building is

   $500,000.00. (Exhibit 1, p. 55 of 100).

          18.    The amount of property insurance coverage purchased for the building

   did not comply with the Covington policy’s coinsurance clause; that is, the building

   was not insured for 90% of its value. (Aff’d. Ojeda, para. 7).

          19.    That the amount of property insurance coverage purchased for the

   building was not in compliance with the Covington policy’s 90% coinsurance clause

   was determined by multiplying the undisputed RCV of the building ($791,745.15)

   by 90%, which results in $712,570.63, and by multiplying the undisputed ACV of




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   the building ($593,808.87) by 90%, which results in $534,427.98. (Aff’d. Ojeda,

   para. 7).

          20.    At the time of the loss, the building was insured for only $500,000.00

   (Covington policy, Commercial Property Coverage Part Declarations, p. 1 0f 1),

   which is less than 90% of the RCV and ACV values. (Aff’d. Ojeda, para. 7).

          21.    Because the building was not insured for 90% of its value at the time

   of the loss, the coinsurance clause in the Covington policy applies. (Covington

   policy, Building and Personal Property Coverage Form, p. 13 of 16, F.1.).

          22.    The calculations applying the coinsurance clause in the Covington

   policy are as follows:

   RCV:          $500,000.00       =         $500,000.00          = .702 or 70.168%
                 $791,745.15 x 90%           $712,570.64

   ACV:          $500,000.00       =         $500,000.00          = .780 or 77.965%
                 $593,808.87 x 90%           $534,427.98

   (Aff’d. Ojeda, para. 7).

          23.    Applying the coinsurance clause (assuming there is coverage for this

   loss, which Covington denies), Covington would pay Quattry 70.168% of the RCV

   of the damage to the building, or 77.965% of the ACV of the damage to the building,

   depending upon whether the Covington policy’s other provisions require payment

   of RCV or ACV. (Aff’d. Ojeda, para. 8).




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                              MEMORANDUM OF LAW

   I.     OVERVIEW

          On September 14, 2016, plaintiff Samuel F. Quattry Jr., as Trustee of the

   Samuel F. Quattry, Jr. Living Trust (“Quattry”), made a claim against a Covington

   policy of property insurance for damages to a building in Orlando, Florida allegedly

   caused by “vibrations” from heavy equipment used during a road construction

   project in 2016. Covington denied coverage for the claim on several grounds.

   Thereafter, Quattry filed this action for alleged breach of the insurance contract.1

          The building and personal property coverage form in the Covington policy

   of insurance contains a coinsurance clause, which states that if the building is not

   insured for 90% of its value at the time of a loss, Covington will not pay the full

   amount of the loss, but instead, it will pay a percentage of the loss calculated

   pursuant to a formula in the coinsurance clause. In this case, Covington determined

   the amount of insurance coverage purchased for Quattry’s building was less than

   90% of the building’s value at the time of the loss, which activated the coinsurance

   clause. Quattry has not provided any testimony or evidence to contradict the

   calculations.




   1
    On April 9, 2018, Quattry filed a complaint against Covington but later voluntarily
   dismissed it. On July 11, 2018, Quattry filed this action. Quattry’s second amended
   complaint was filed on August 12, 2018. [Doc. 18].


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           Covington seeks partial summary judgment in its favor and a ruling that if,

    hypothetically, there is any coverage under the Covington policy for the damage to

    Quattry’s building (which Covington denies), the co-insurance clause is enforceable

    to reduce the amount of insurance policy proceeds that may be owed by Covington

    to Quattry.

    II.    STATEMENT OF UNDISPUTED FACTS

           A.     The Covington Insurance Policy And Its Coinsurance Clause

           At the time of the loss, Covington insured Quattry under a renewal policy of

    commercial general liability and property damage insurance, policy number

    VBA392726 00, effective May 1, 2016 through May 1, 2017 (“the Covington

    policy”). A certified copy of the Covington policy is attached to Covington’s motion

    for summary judgment as Exhibit 1.

           The Covington policy insured the property located at 1011-1023 W. Colonial

    Drive, Orlando, Florida 32804 (“the building”). (Covington policy, page 55 of 100;

    Commercial Property Coverage Part Declarations). At the time of the claimed loss,

    the Covington policy’s coverage limit for property damage to the building was

    $500,000.00, subject to a $2,500.00 deductible and a 90% coinsurance provision.

    (Id.). The Covington policy states as follows:




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                                  IMPORTANT NOTICE

                  FLORIDA NOTICE – COINSURANCE CONTRACT

              THE RATE CHARGED IN THIS POLICY IS BASED UPON
              THE USE OF THE COINSURANCE CLAUSE ATTACHED TO
              THIS POLICY, WITH THE CONSENT OF THE INSURED.

                                       *     *      *

    (Covington policy, p. 12 of 100; GBA 909009 0407). The Covington policy further

    states:

                BUILDING AND PERSONAL PROPERTY COVERAGE
                                  FORM

                                     *       *      *
              F. Additional Conditions

                The following conditions apply in addition to the Common Policy
                Conditions and the Commercial Property Conditions.

                1. Coinsurance

                   If a Coinsurance percentage is shown in the Declarations, the
                   following condition applies:

                   a. We will not pay the full amount of any loss if the value of
                      Covered Property at the time of loss times the Coinsurance
                      percentage shown for it in the Declarations is greater than
                      the limit of Insurance for the property. Instead, we will
                      determine the most we will pay using the following steps:

                       (1) Multiply the value of Covered Property at the time of
                           loss by the Coinsurance percentage;

                       (2) Divide the Limit of Insurance of the property by the
                           figure determined in Step (1);




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                       (3) Multiply the total amount of loss, before the
                           application of any deductible, by the figure
                           determined in Step (2); and

                       (4) Subtract the deductible from the figure determined in
                           Step (3).

                      We will pay the amount determined in Step (4) or the Limit
                      of Insurance, whichever is less. For the remainder, you will
                      either have to rely on other insurance or absorb the loss
                      yourself.

    (Covington policy, p. 69 of 100; Florida Notice, GBA 909009 0407, p. 1 of 1;

    Building and Personal Property Coverage Form, CP 00 10 10 12, p. 13 of 16).

    Quattry, in its application for insurance coverage with Covington, specifically

    requested that insurance for the building be provided pursuant to a 90% coinsurance

    arrangement. (Deposition of Andrea Rickheim, p. 48, l. 18-25; p. 49, l. 1-2; Exhibit

    2 to motion for partial summary judgment. See, Exhibit 1 to depo. of Rickheim).

    The property section of the application states that Quattry’s building will be insured

    in the amount of $500,000.00 at 90% coinsurance. (Exhibit 1 to depo. Rickheim,

    page 5 of 11).

          Rickheim purchased insurance coverage for the property through the LRA

    Insurance Agency. (Depo, Rickheim, p. 46, l. 7-14, l.25; p. 47, l. 1-4). Rickheim

    dealt with Mr. Tomlinson [at LRA Insurance], who asked her questions about the

    property, to which she, Rickhem, provided honest information to the best of her

    knowledge. (Id., p. 47, l. 5-13).




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          Rickheim identified exhibit 1 to her deposition as the commercial insurance

    application form (Depo. Rickheim. 48, l. 18-25; p. 49, l. 1-2), where she applied for

    insurance coverage for the properties owned by Quattry Properties, LLC as well as

    the Samuel F. Quattry, Jr. Living Trust. (Id., p. 51, l. 15-25; p. 52, l. 1-4). Rickheim

    identified her signature on the insurance application form dated April 19, 2016. (Id.,

    p. 49, l. 3-11, 14; p. 50. l. 7-13; 24-25; p. 51, l. 1-4). She reviewed the application

    before she signed it, including the entire form and all of the information in it, and

    she made sure the information was correct. (Id., p. 49, l. 15-17; p. 50, l. 1-3, 19-23;

    p. 51, l. 11-14; p. 54, l. 19-22; p. 55, l. 15-18).

          Rickheim and Mr. Tomlinson discussed the amount of insurance coverage

    that she was purchasing on behalf of Quattry Properties, LLC and the Samuel F.

    Quattry, Jr. Living Trust for the 1011 to 1023 West Colonial Drive location, and

    they agreed on $500,000.00 in total coverage for the buildings that comprise that

    location. (Depo. Rickheim, p. 52, l. 18-25; p. 53, l. 4-6). After the [Covington]

    policy was issued, Rickheim received the policy and read it to make sure that the

    premium charged was correct and that the coverage and conditions of coverage were

    in line with her conversation with Mr. Tomlinson, and she confirmed that they were

    correct. (Id., p. 55, l. 22-25; 56, l. 1-24).




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           B.     Quattry’s Claimed Loss To The Building

           Quattry’s damages expert, Jennifer Yurgen with Proscope Consulting,

    provided an estimate to repair the alleged damage to the portions of the building

    fully owned by Quattry (1023 West Colonial Drive). The estimate was in the amount

    of $181,096.54 for replacement cost value (RCV). (Plaintiff’s expert witness

    disclosure, Exhibit A, p. 26 of 176; Exhibit 3 to motion for partial summary

    judgment). After applying depreciation, Yurgen calculated the actual cash value

    (ACV) of the damage at $151,776.69. (Id.).

           C.     The Actual Value Of The Building Compared To Its Insured
                  Value

           Covington determined that at the time of the loss the total adjusted RCV of

    the building at 1011 to 1023 W. Colonial Drive, Orlando, Florida was $791,745.15

    and the total ACV was $593,808.87. (Affidavit of Betty S. Ojeda, para. 6, Exhibit 4

    to motion for partial summary judgment).2 Because no one on behalf of Quattry has

    calculated any different values for the RCV or the ACV of the building, the values

    calculated by Covington, through Ms. Ojeda, are undisputed. However, the




    2
      The Orange County Property Appraiser assessed the 2016 market values of the 1011,
    1015, 1021 and 1023 addresses (collectively the 1011 to 1023 building, or “the building”)
    at $176,034.00, $173,430.00, $210,811.00 and $148,844.00, respectively, for a total
    assessed market value during the year 2016 of $709,119.00. (See, Property Records of the
    Orange County Property Assessor, attached as Exhibit 5 to motion for partial summary
    judgment).


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    Covington policy’s building coverage limit for the building is only $500,000.00.

    (Exhibit 1, p. 55 of 100).

           D.     The Insurance On The Building Was Not In Compliance With
                  The Coinsurance Clause

           It is undisputed that at the time of the loss, the amount of property insurance

    purchased for the building was not in compliance with the Covington policy’s

    coinsurance clause. In other words, the building was not insured for 90% of its

    value. This was determined by multiplying the undisputed RCV of the building

    ($791,745.15) by 90%, which results in $712,570.63, and by multiplying the

    undisputed ACV of the building ($593,808.87) by 90%, which results in

    $534,427.98. (Aff’d. Ojeda, para. 7). At the time of the loss, the building was

    insured for only $500,000.00, which is less than 90% of the RCV and ACV values.

           E.     Applying The Formula In Covington Policy’s Coinsurance Clause

           Because the building was not insured for 90% of its value at the time of the

    loss, the coinsurance clause in the Covington policy applies. Covington worked

    through steps 1 and 2 in the coinsurance clause using the undisputed evidence

    regarding the replacement value of the building at the time of the loss and the

    Covington policy’s coverage limit. Covington determined the percentage of the loss

    that would be owed by Covington under the coinsurance clause (if, hypothetically,

    there was coverage for the loss, which Covington denies). Those calculations are as

    follows:



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    RCV:          $500,000.00       =          $500,000.00           = .702 or 70.168%
                  $791,745.15 x 90%            $712,570.64

    ACV:          $500,000.00       =          $500,000.00           = .780 or 77.965%
                  $593,808.87 x 90%            $534,427.98

    Applying the coinsurance clause, the Covington policy would pay Quattry 70.168%

    of the RCV of the damage to the building, or 77.965% of the ACV of the damage

    to the building, depending upon whether the Covington policy’s other provisions

    require payment of RCV or ACV. (Id., para. 8).

    III.   ARGUMENT AND CITATION OF AUTHORITY

           A.     Standard On Motion For Summary Judgment

           Federal Rule of Civil Procedure 56 (a) states:

           Motion for Summary Judgment or Partial Summary Judgment. A
           party may move for summary judgment, identifying each claim or
           defense--or the part of each claim or defense--on which summary
           judgment is sought. The court shall grant summary judgment if the
           movant shows that there is no genuine dispute as to any material fact
           and the movant is entitled to judgment as a matter of law.

    Summary judgment is appropriate when the pleadings, depositions, answers to

    interrogatories, and admissions on file, together with the affidavits, show there is no

    genuine issue as to any material fact and that the moving party is entitled to

    judgment as a matter of law. Fed. R. Civ. P. 56(c); Celotex Corp. v. Catrett, 477

    U.S. 317, 322 (1986). The existence of some factual disputes between the litigants

    will not defeat an otherwise properly supported summary judgment motion; “the

    requirement is that there be no genuine issue of material fact.” Anderson v. Liberty



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    Lobby, Inc., 477 U.S. 242, 248–49 (1986) (emphasis in original). A fact is

    “material” only if it may affect the outcome of the suit under governing law. Id. at

    248.

           The moving party bears the initial burden of stating the basis for its motion

    and identifying those portions of the record demonstrating the absence of genuine

    issues of material fact. Celotex, 477 U.S. at 323; Hickson Corp. v. N. Crossarm

    Co., 357 F.3d 1256, 1259-60 (11th Cir. 2004). In determining whether a genuine

    issue of material fact exists, the court must consider all the evidence in the light

    most favorable to the nonmoving party. Shotz v. City of Plantation, Fla., 344 F.3d

    1161, 1164 (11th Cir. 2003).

           In this case, the material facts regarding the Covington policy’s coinsurance

    clause and its application to Quattry’s claimed loss are undisputed. Those facts

    consist of the provisions in the Covington policy, including the coinsurance clause

    and the coverage limit for the building; Quattry’s expert’s estimate of the RCV and

    ACV of the alleged damages to the building (which estimate is considered to be true

    for purposes of this motion for partial summary judgment only);3 and the unrebutted

    calculation by Covington of the RCV and ACV of the building at the time of the

    loss. Based upon these undisputed facts, Covington is entitled to partial summary



    3
     Covington reserves the right to assert that the RCV and ACV of any damages that
    may be covered under the Covington policy are different than the amounts estimated
    by Quattry’s expert.


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    judgment in its favor regarding the enforceability of the coinsurance clause and the

    percentage of the damages to Quattry’s building that would be owed by Covington

    if there was coverage under the Covington policy for those damages, which

    Covington denies.

           Specifically, Covington is entitled to a ruling that, if there is coverage under

    the Covington policy for damages to the building (which Covington denies), the

    Covington policy will pay no more than 70.168% of the RCV of the damage to the

    building, or 77.965% of the ACV of the damage to the building, depending upon

    whether the Covington policy’s other provisions require payment of RCV or ACV.

           Disputed issues remain as to causation and the amount of damage to the

    building, the RCV and ACV of the damage, and whether the damage is covered by

    the Covington policy.

           B.     Coinsurance Clauses Are Enforceable In Florida

           Coinsurance clauses in property insurance policies are enforceable in

    Florida. The court in Gen. Star Indem. Co. v. W. Fla. Vill. Inn, Inc., 874 So. 2d 26

    (Fla. 2d DCA 2004), explained:

           The purpose of coinsurance is to increase the risk to the insured when
           the insured purchases far less coverage than the full value of the
           property. See generally Couch on Insurance 3d § 220:3–24 (West
           Group 1999). When a coinsurance provision applies, the insurer does
           not pay the full amount of loss. Instead, the amount otherwise payable
           under the policy is reduced in proportion to the extent to which the
           property is underinsured. … Through coinsurance, the principle of




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           indemnity is upheld by requiring the insured to assume his or her fair
           share of the risk of loss after the loss occurs.

    Id., 874 So.2d at 33, fn. 6. Florida has a statute that specifically authorizes

    coinsurance, Florida Statutes § 627.701(1). It provides:

           627.701 Coinsurance contracts. - A property insurer may issue an insurance
           policy or contract covering either real or personal property in this state which
           contains provisions requiring the insured to be liable as a coinsurer with the
           insurer issuing the policy for any part of the loss or damage by covered peril
           to the property described in the policy only if:

                  (1)    The following words are printed or stamped on the face of the
                         policy, or a form containing the following words is attached to
                         the policy: “Coinsurance contract: The rate charged in this
                         policy is based upon the use of the coinsurance clause attached
                         to this policy, with the consent of the insured.”;

                  (2)    The coinsurance clause in the policy is clearly identifiable; and

                  (3)    The rate for the insurance with or without the coinsurance
                         clause is furnished the insured upon his request.

           C.     The Coinsurance Clause In The Covington Policy Is Enforceable

           Covington, as a surplus lines insurance carrier, does not have to comply with

    the requirements of Fla. Stat. Ann. § 627.701(1) regarding notifying the insured that

    it may be liable as a coinsurer in the event of a loss. Fla. Stat. § 626.913(4) states

    that, “[e]xcept as may be specifically stated to apply to surplus lines insurers, the

    provisions of chapter 627 do not apply to surplus lines insurance authorized under

    ss. 626.913-626.937, the Surplus Lines Law.” In Essex Ins. Co. v. Integrated

    Drainage Sols., Inc., 124 So. 3d 947, 951 (Fla. 2d DCA 2013), the court held that




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    in 2010, the Florida legislature enacted Fla. Stat. § 626.913(4) to “clarify[] that the

    … provisions of ch. 627, F.S., except where specifically stated, do not apply to

    surplus lines insurance.” The coinsurance statute does not state that it applies to

    surplus lines insurance, and therefore, it does not apply here. Nevertheless, the

    coinsurance clause in the Covington policy does comply with Fla. Stat. Ann. §

    627.701. It contains the exact language required by Fla. Stat. § 627.70(1) located in

    a prominent position in the Covington policy on a separate endorsement on an

    otherwise blank page, which states:

                                  IMPORTANT NOTICE

                 FLORIDA NOTICE – COINSURANCE CONTRACT

           THE RATE CHARGED IN THIS POLICY IS BASED UPON
           THE USE OF THE COINSURANCE CLAUSE ATTACHED TO
           THIS POLICY, WITH THE CONSENT OF THE INSURED.
           _______________________________________________________

    (Covington policy, p. 12 0f 100; Ex. 1 to motion for partial summary judgment). In

    QBE Ins. Corp. v. Chalfonte Condo. Apartment Ass'n, Inc., 94 So. 3d 541, 554

    (Fla. 2012), the court enforced a coinsurance clause that was written in compliance

    with Fla. Stat. § 627.701 similar to the coinsurance provision in this case. Therefore,

    as a matter of law, the coinsurance clause in the Covington policy is enforceable

    against Quattry to reduce any potential payment for the claimed losses to its

    building.




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           D.     Applying The Coinsurance Clause To Quattry’s Claimed Loss

           Steps 1 and 2 of the coinsurance clause reads as follows:

                      (1) Multiply the value of Covered Property at the time of
                          loss by the Coinsurance percentage;

                      (2) Divide the Limit of Insurance of the property by the
                          figure determined in Step (1);

    As discussed above in the statement of facts section of this brief, the RCV and ACV

    values of the building at the time of the loss are undisputed. The RCV was

    $791,745.15 and the ACV was $593,808.87. (Aff’d. Ojeda, para. 6. Covington

    calculated those values and Quattry has not offered any different values or expert

    testimony to refute Covington’s values. Also, the Covington policy’s limit of

    insurance for the building is $500,000.00. Using these figures, the calculations in

    steps 1 and 2 of the coinsurance clause are as follows:

    RCV:          $500,000.00       =         $500,000.00         = .702 or 70.168%
                  $791,745.15 x 90%           $712,570.64

    ACV:          $500,000.00       =         $500,000.00         = .780 or 77.965%
                  $593,808.87 x 90%           $534,427.98

    Therefore, applying the coinsurance clause, the Covington policy would pay

    Quattry 70.168% of the RCV of any covered damage to the building, or 77.965%

    of the ACV of any covered damage to the building, minus the deductible, depending

    upon whether the Covington policy’s other provisions require payment of RCV or

    ACV. (Aff’d. Ojeda, para. 8).




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    IV.    CONCLUSION

           The facts material to the enforceability and application of the coinsurance

    clause in the Covington policy are undisputed. Covington is entitled to partial

    summary judgment in its favor as a matter of law and a ruling that the coinsurance

    clause in the Covington policy is enforceable, the amount of insurance coverage on

    Quattry’s building at the time of the loss was not in compliance with the coinsurance

    clause, and Covington is entitled to reduce the amount it owes Quattry (if it owes

    anything, which Covington denies) according to the percentages calculated by

    Covington based upon the undisputed RCV and ACV values of the building at the

    time of the loss.

           WHEREFORE, defendant Covington Specialty Insurance Company

    respectfully requests that the Court enter an order granting partial summary

    judgment in its favor and a ruling that, if there is coverage under the Covington

    policy of insurance for the damage to Quattry’s building (which Covington denies),

    the co-insurance clause in the Covington policy is enforceable to reduce the amount

    of insurance policy proceeds owed by Covington to Quattry.

           Respectfully submitted this 28th day of June, 2019.

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                               CERTIFICATE OF SERVICE

           I hereby certify that I electronically filed the foregoing MOTION OF
    DEFENDANT COVINGTON SPECIALITY INSURANCE COMPANY FOR
    PARTIAL SUMMARY JUDGMENT using the Court’s CM/ECF System, which
    will automatically send a copy of same to the following counsel of record for
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          This 28th day of June, 2019.

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